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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                 :
 UNITED STATES OF AMERICA                        :
                                                 : Case No. 21-CR-35 (EGS)
    v.                                           :
                                                 :
 MICHAEL JOHN LOPATIC, SR.,                      :
                                                 :
    Defendant.                                   :
                                                 :

                                            NOTICE

         Defendant Michael J. Lopatic, Sr. (“Mr. Lopatic”), by and through undersigned counsel,

and pursuant to the Court’s Minute Order dated April 26, 2021, submits this Notice

acknowledging the conditions of release set forth in the Court’s Order Setting Conditions of

Release [ECF 65].

         Mr. Lopatic acknowledges that he is aware of the conditions of release. He promises to

obey all conditions of release, to appear as directed, and surrender to serve any sentence

imposed. Mr. Lopatic is aware of the penalties and sanctions set forth in the Order Setting

Conditions of Release.

Date: May 3, 2021                             Respectfully Submitted,

                                              /s/ Dennis E. Boyle
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